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UNlTED STATES DISTRICT COURT
FOR THE
WESTERN DISTR]CT OF TENNESSEE

oRDER oF PRODUCTION
NO= 1104-Cr-10030-01-T

 

USA V- Kenneth Ray Vann
AD Prosequendum
FOR= Re-Sentencing

TO: USM, Western District of TN
Warden, USP Lee, Lee County Penitentiary, Lee
County lndustrial Park, Hickory Flats Road,
Pennington Gap, VA 24277

YOU ARE HEREBY COMMANDED to have the person of KENNETH RAY VANN, Inmate
# 19638-076, by you restrained of his/her liberty, as it is said, by whatsoever names detained,
together with the day and cause of his being taken and detained, before the Honorable J ames D.
Todd, U. S. District Court Judge, for the Western District of Tennessee, at the room of said Court,
in the City of Jackson, Tennessee, at 8:45 a.m. on the 21st day of October, 2005, then and there
to do, submit to, and receive whatsoever the said Judge shall then and there determine in that behalf;
and have you then and there this writ; further, to hold him in federal custody until disposition of this

case and to produce him for such other appearances as this court may direct.

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ENTERED THIs :N DAY oF M;§M@{; 20 05 .

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JAM§ES D. TODD
D STATES DISTRICT JUDGE

 

This document entered on the docket sheeti compliance
with Hule 55 andlor 32(b) FRCrF on _2.,(_3_££.)_@§.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 1:04-CR-10030 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

